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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 UNITED STATES OF AMERICA and §
 STATE OF TEXAS,                      §
                                      §
                          Plaintiffs, §
 and                                  §
                                      §
 BAYOU CITY WATERKEEPER               §               CIVIL ACTION NO. 4:18-CV-3368
                                      §               JUDGE EWING WERLEIN, JR.
               Plaintiff-Intervenor,  §
                                      §
 v.                                   §
                                      §
 CITY OF HOUSTON,                     §
                                      §
                           Defendant. §

           Plaintiff-Intervenor Bayou City Waterkeeper’s Notice of Related Litigation

       Pursuant to Local Rule 5.2, Plaintiff-Intervenor Bayou City Waterkeeper respectfully

submits this Notice to advise the Court of the following related current litigation and of directly

affected non-parties.

       Bayou City Waterkeeper v. City of Houston, Texas, 4:18-cv-3369 (S.D. Tex.), was filed

September 21, 2018. The case was assigned to Judge Andrew Hanen. Bayou City Waterkeeper

and City of Houston are the only named parties; thus, there are no non-parties that would be

directly affected by the action before this Court.

                             Summary of Related Nature of the Litigation

       The cases are related because they present common questions of law and facts and arise

from the same or substantially similar events. Both cases contend that the City of Houston

violated the Clean Water Act and its Texas Pollutant Discharge Elimination System (“TPDES”)




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permits by discharging untreated wastewater into and adjacent to area waters over the course of

several years.

       Date: November 26, 2018

                                                     By: /s/ David Frederick
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                                      Certificate of Service

       I certify that on November 26, 2018, I electronically filed this Plaintiff-Intervenor Bayou
City Waterkeeper’s Notice of Related Litigation using the CM/ECF system, which automatically
sends notice and a copy of the filing to all counsel of record.

                                                     /s/ David Frederick
                                                     David Frederick

                                                     Attorney for Bayou City Waterkeeper



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